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                                                               August 24, 2021

Hon. Ann Marie Donio
United States Magistrate Judge
 for the District of New Jersey
United States District Courthouse
4th & Cooper Streets
Camden, New Jersey 08101


By ECF & First Class Mail (Courtesy Copy)


Re:      Estate of Gordon, et al v Wetzel, et al., 1:21-cv-04861 (NLH)
         (AMD)


Dear Judge Donio,


     Please accept this letter in reply to the State defendants’
response to plaintiffs’ motion to amend.

     We strenuously object to the State defendants’ self-pronounced
‘reservation of rights’ “to withdraw the pending Motion to Dismiss,
* * * and file one that addresses all counts, including the new
ones.”

     We conceive of this to be slyly intended as a vehicle to
extend the discovery stay they seek to impose pending resolution of
their dismissal motion by extending a resolution date even further
into the future through withdrawing and re-filing such a motion.

     Inasmuch as we believe plaintiffs’ proposed amendment does not
trespass on the viability or bases of these defendants’ pending
motion under Rule 12 - and the State defendants have not claimed
otherwise - we find no reason other than strategy for this
‘reservation.’

     Were the State defendants contemplating a Rule 12 challenge to
the amendment proposed, now was the time to have brought it by
opposing plaintiffs’ motion to amend on grounds of futility.
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      Among the grounds that could justify a denial of leave to
      amend are undue delay, bad faith, dilatory motive,
      prejudice, and futility. “Futility” means that the
      complaint, as amended, would fail to state a claim upon
      which relief could be granted. [In re Burlington Coat
      Factory Securities Litigation], 114 F.3d [1410] at 1434
      [3rd Cir. 1997]). In assessing “futility,” the District
      Court applies the same standard of legal sufficiency as
      applies under Rule 12(b)(6). Id.; 3 Moore's Federal
      Practice, supra § 15.15[3], at 15–47 to –48 (3d ed.2000).


Shane v. Fauver, 213 F.3d 113, 115 [3rd Cir. 2000] [some citations
and internal quotations omitted]; see also e.g., Massarsky v. Gen.
Motors. Corp., 706 F.2d 111, 125 [3d Cir.1983] [trial court may
properly deny leave to amend where amendment would not withstand
motion to dismiss])

     The State defendants have not timely brought a futility
challenge to plaintiffs’ proposed amendment and, we submit, should
now be deemed to have waived a substantively identical challenge,
albeit brought in a dilatory manner, as a result.

      As always, thank you for your courtesies and kind attention.


                                         Respectfully,

                                         /s/ Neal Wiesner

                                         Neal Wiesner



cc:   All counsel of record (via CM/ECF)
